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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
                                                           No. 1:16-cr-00370 (CM)
                      v.
                                                           ECF Case
MATTHEW CONNOLLY and
GAVIN CAMPBELL BLACK,
                                                           ORAL ARGUMENT REQUESTED
                      Defendants.



                NOTICE OF DEFENDANT GAVIN CAMPBELL BLACK’S
                        MOTION FOR KASTIGAR RELIEF

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law and

supporting materials, Defendant Gavin Campbell Black, by his undersigned counsel, hereby

moves this Court for an Order granting his Motion for Kastigar Relief and granting such further

and other relief as the Court deems just and proper.

Dated: New York, New York
       December 10, 2018

                                               By: /s/ Seth L. Levine
                                                  Seth L. Levine
                                                  Scott B. Klugman
                                                  Miriam L. Alinikoff
                                                  Dylan A. Stern

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